Case 1:13-cv-00763-GMS Document 255 Filed 06/11/15 Page 1 of 9 PageID #: 6971



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

BRIDGESTONE AMERICAS TIRE
OPERATIONS, LLC,
              Plaintiff,

       v.

SCHRADER-BRIDGEPORT                               C.A. No. 13-763-GMS
INTERNATIONAL, INC. d/b/a SCHRADER
INTERNATIONAL, INC.; SCHRADER                     JURY TRIAL DEMANDED
ELECTRONICS LTD.; and SCHRADER
ELECTRONICS, INC.,

                   Defendants.


                                     VERDICT FORM


Instructions: When answering the following questions and filling out the Verdict Form,
please refer to the Jury Instructions for guidance on the law applicable to the subject matter
covered by each question.


We, the jury, unanimously find as follows:




                                              1
    Case 1:13-cv-00763-GMS Document 255 Filed 06/11/15 Page 2 of 9 PageID #: 6972



                                         INFRINGEMENT

   Question 1: Direct Infringement of the '885 Patent.

   Do you find that Bridgestone has proven, by a preponderance of the evidence, that the Schrader
   Defendants have directly infringed any of the asserted claims of U.S. Patent No. 6,630,885,
   either literally or under the doctrine of equivalents?

          Please answer in each row with a "Yes" or a "No"


              '885 Patent                             YES                           NO




Schrader Gen3, Gen4, Gen5, Gen6 Sensors
    Schrader EZ-Sensors, EZ-Tire Sensors
                  Schrader OTR Sensors




                                                  2
Case 1:13-cv-00763-GMS Document 255 Filed 06/11/15 Page 3 of 9 PageID #: 6973



Question 2: Induced Infringement of the '885 Patent.

Do you find that Bridgestone has proven, by a preponderance of the evidence, that the Schrader
Defendants have actively induced another party to infringe any of the claims of U.S. Patent No.
6,630,885, either literally or under the doctrine of equivalents?

       Please answer in each row with a "Yes" or a "No"


           '885 Patent                              YES                           NO



  !

Schrader EZ-Sensors, EZ-Tire Sensors




                                                3
    Case 1:13-cv-00763-GMS Document 255 Filed 06/11/15 Page 4 of 9 PageID #: 6974



   Question 3: Direct Infringement of the '476 Patent.
   Do you find that Bridgestone has proven, by a preponderance of the evidence, that the Schrader
   Defendants have directly infringed any of the claims of U.S. Patent No. 7,161,476, either literally
   or under the doctrine of equivalents?

          Please answer in each row with a "Yes" or a "No"


              '476 Patent                                                             NO




Schrader Gen3, Gen4, Gen5, Gen6 Sensors
    Schrader EZ-Sensors, EZ-Tire Sensors
                  Schrader OTR Sensors




                                                   4
Case 1:13-cv-00763-GMS Document 255 Filed 06/11/15 Page 5 of 9 PageID #: 6975




Question 4: Induced Infringement of the '476 Patent.

Do you find that Bridgestone has proven, by a preponderance of the evidence, that the Schrader
Defendants have actively induced another party to infringe any of the claims of U.S. Patent No.
7,161,476, either literally or under the doctrine of equivalents?

       Please answer in each row with a "Yes" or a "No"


           '476 Patent




Schrader EZ-Sensors, EZ-Tire Sensors




                                                5
Case 1:13-cv-00763-GMS Document 255 Filed 06/11/15 Page 6 of 9 PageID #: 6976



                                        INVALIDITY

Question 5: Obviousness of the '885 patent.

Do you find that the Schrader Defendants have proven by clear and convincing evidence that the
claimed invention(s) recited in any of the asserted claims of the '885 patent would have been
obvious to a person of ordinary skill in the field at the time of the invention?

       Please answer in each row with a "Yes" or a "No".

       "Yes" means the claim would have been obvious to a person of ordinary skill
       in the field at the time of the invention, and "No" means the claim would not
       have been obvious to a person of ordinary skill in the field at the time of the
       invention.

 '885 Patent                   YES                                     NO
                      (finding for Schrader)                (finding for Bridgestone)
Claim 12                                                              x
Claim 92                                                              ,x




                                               6
Case 1:13-cv-00763-GMS Document 255 Filed 06/11/15 Page 7 of 9 PageID #: 6977



Question 6: Obviousness ('476 patent).

Do you find that the Schrader Defendants have proven by clear and convincing evidence that the
claimed invention(s) recited in any of the asserted claims of the '476 patent would have been
obvious to a person of ordinary skill in the field at the time of the invention?

       Please answer in each row with a "Yes" or a "No".

       "Yes" means the claim would have been obvious to a person of ordinary skill
       in the field at the time of the invention, and "No" means the claim would not
       have been obvious to a person of ordinary skill in the field at the time of the
       invention.

 '476 Patent                   YES                                     NO
                      (finding for Schrader)                (finding for Bridgestone)
Claim 1                                                            x
Claim 136                                                         .x




                                               7
 Case 1:13-cv-00763-GMS Document 255 Filed 06/11/15 Page 8 of 9 PageID #: 6978



                                           DAMAGES
Question 7: Damages.

If you have found at least one claim of the '885 patent or '476 patent infringed and not invalid,
please answer the following question.

What total amount of reasonable royalty damages, if any, has Bridgestone Americas Tire
Operations, LLC shown by a preponderance of the evidence would be adequate to compensate it
for Schrader' s infringement?




If you used a rate, what is that rate?

Select One:
                                                     Total Royalties: $ _ _ _ _ _ _ _ __
Royalty Rate: $___ per unit

        OR

Royalty Rate: - - -% of revenues




You have now reached the end of the verdict form and should review it to ensure it accurately
reflects your unanimous determinations. The Presiding Juror should then sign and date the verdict
form in the spaces below and notify the Security Guard that you have reached a verdict. The
Presiding Juror should retain possession of the verdict form and bring it when the jury is brought
back into the courtroom.




                                                 8
Case 1:13-cv-00763-GMS Document 255 Filed 06/11/15 Page 9 of 9 PageID #: 6979



SO SAY WE ALL, this   lL date of June 2015




                                 SEALED
